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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


NIFTY HOME PRODUCTS, INC.,

                              Plaintiff,                           Civil Action No.

v.                                                                    23-cv-687

MAPLE LEAVES, et al.,                                               Judge Schwab

                              Defendants.                      FILED UNDER SEAL



 AMENDED 1) TEMPORARY RESTRAINING ORDER FOR GOOD CAUSE SHOWN;
 2) ORDER RESTRAINING ASSETS AND MERCHANT STOREFRONTS; 3) ORDER
  TO SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE;
          AND 4) ORDER AUTHORIZING EXPEDITED DISCOVERY

        On April 28, 2023, this Court previously issued an Order on (1) Plaintiff’s Application

for a Temporary Restraining Order, (2) Order Restraining Assets and Merchant Storefronts;

(Order to Show Cause Why a Preliminary Injunction Should not Issue; and (4) Order

Authorizing Expedited Discovery. (“TRO”) [ECF No. 12]. That Order denied Plaintiff’s Motion

for an Order Authorizing Expedited Discovery.

        This matter is before the Court upon Plaintiff’s Motion to Amend and Extend the TRO,

the evidence in the record, the May 1, 2023 Declaration of Brian Samuel Malkin, and the

applicable law. Based upon the Court’s review, this Amended Order is now entered and shall

replace the original TRO. The Court notes that it has included expedited discovery in this Order

as Plaintiff’s Application for the TRO shows good cause for such relief.

        Specifically, Plaintiff has obtained evidence clearly demonstrating that Defendants are

using without authorization Plaintiff’s copyrighted Pig Face Sculpture (“Plaintiff’s Work”),

while promoting, selling, offering for sale and distributing knock-offs in a willful attempt to pass
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off their knock-off products as genuine versions of Plaintiff’s Products. Defendants’ sale,

distribution, and advertising of the Knock-off Products are highly likely to cause consumers to

believe that Defendants are offering Plaintiff’s genuine product when in fact they are not.

Defendants accomplish their illegal sales through the use of, at least one of the Internet based e-

commerce stores operated by at least one of Amazon.com, eBay.com, Walmart.com, Wish.com

and AliExpress.com Internet marketplace platforms.

        Based on this evidence, Plaintiff’s Complaint alleges claims for federal copyright

infringement pursuant to 17 U.S.C. § 501(a).

                         FACTUAL FINDINGS & CONCLUSION OF LAW

        1.         Plaintiff, Nifty Home Products, Inc. (“Nifty”), is likely to prevail on its copyright

claims at trial.

        2.         Katherine Waymire founded Talisman Designs in 2002 making handmade wine

accessories and packaging out of her home. Since then, Talisman Designs has created and

innovated all of its own products and packaging. Today, Talisman is a well-known national

brand in the gift and houseware industries. It is recognized for its quality, inventions, creative

packaging and whimsical characters. Talisman innovates across four main categories – Baking,

Prep Tools, Wood/Collections and Fun & Funky. Each category has a different, distinct look.

Talisman’s customers immediately recognize their products because of this. For instance, in the

Fun & Funky line of products, most of the products have a distinct character that is personified

by a face or character. Talisman’s customers often immediately recognize their new products as

being sold by them.




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           3.      Plaintiff acquired Talisman and Talisman’s top selling product called the Bacon

Bin® bacon grease container (“Plaintiff’s Product”) which was conceived by Waymire.1 The

Plaintiff's Product is designed to both strain and then store bacon grease that is poured into it

while hot (up to 500 degrees Farenheit). The Plaintiff's Product includes a distinct tin can shape

with ridges all around it and a whimsical sculpted piggy face top. The piggy face, individually, is

a copyrighted sculpture (attached as Exhibit 3C to the Complaint) (“Plaintiff’s Work”). The

Bacon Bin® grease holder is sold in online marketplaces such as Amazon.com and in brick and

mortar stores.

           4.      Plaintiff is also the owner of various published photographs, videos, artwork,

creative text, and product instructions appearing on talismandesigns.com and the Plaintiff’s store

on Amazon.com (as illustrated in Exhibit 2 attached to the Complaint).

           5.      Defendants, by operating Internet based e-commerce stores, and fully interactive,

commercial Internet websites operating under Defendants’ respective seller identities set forth on

Schedule “A” hereto (the “Seller IDs”), have advertised, promoted, sold, and offered for sale

goods featuring, displaying, and/or using Plaintiff’s Work without authorization and Plaintiff has

determined the products that each Defendant is offering for sale are not genuine products.

           6.      Through the e-commerce marketplace platform, Plaintiff accessed all of the e-

commerce stores operating under Defendants’ Seller IDs and captured the Defendants’ listings at

issue on the e-commerce stores. At the conclusion of the process, the detailed webpages and

photographs were inspected by Plaintiff’s representative who confirmed that each Defendant is




1
    Waymire was the former president and owner of Talisman Designs LLC. Talisman brought multiple lawsuits
    related to the facts and claims in this lawsuit and is the predecessor in interest to this lawsuit.


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featuring, displaying, and/or using Plaintiff’s Work without authorization and the products that

each Defendant is offering for sale are not genuine products.

          7.    Plaintiff has a strong probability of proving at trial that consumers are likely to be

confused by Defendants’ advertisement, promotion, sale, offer for sale, or distribution of

products with unauthorized and unlicensed uses of Plaintiff’s Work, in violation of 17 U.S.C. §

501(a).

          8.    Plaintiff and consumers are likely to suffer immediate and irreparable losses,

damages and injuries before Defendants can be heard in opposition, unless Plaintiff’s

Application for ex parte relief is granted. There is good cause to believe that the unauthorized

and unlicensed use of Plaintiff’s Work will continue in the marketplace; that consumers are

likely to be misled, confused, and disappointed by the quality of the products so advertised; and

that Plaintiff may suffer loss of sales for its genuine products and an unnatural erosion of the

legitimate marketplace in which it operates. There is also good cause to believe that if Plaintiff

proceeds on notice to Defendants of this Application, Defendants can easily and quickly change

the ownership or modify e-commerce store account data and content, change payment accounts,

redirect consumer traffic to other seller identification names, and transfer assets and ownership

of Seller IDs, thereby thwarting Plaintiff’s ability to obtain meaningful relief. As other courts

have recognized, proceedings against those who deliberately traffic in infringing merchandise are

often useless if notice is given to the adverse party.

          9.    The balance of potential harm to Defendants of being prevented from continuing

to profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiff, its reputation, and its goodwill as a manufacturer

and distributor of quality products, if such relief is not issued.


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        10.      The public interest favors issuance of the temporary restraining order in order to

protect Plaintiff’s interests and protect the public from being injured, deceived and defrauded by

the passing off of Defendants substandard goods as Plaintiff’s genuine goods.

        11.      Under Pennsylvania law this Court may issue a prejudgment asset restraint where

Plaintiff’s complaint asserts a claim for money damages.2 This Court also has the inherent

authority to issue a prejudgment asset restraint when Plaintiff’s complaint seeks relief in equity.

According to the Copyright Act, 17 U.S. Code § 504, Plaintiff seeks, among other relief, that

Defendants account for and pay to Plaintiff its actual damages and all profits realized by

Defendants or statutory damages, by reason of Defendants’ unlawful acts. Therefore, this Court

has the authority to grant Plaintiff’s request for a prejudgment asset freeze to preserve the relief

sought by Plaintiff and preserve the Defendants’ ability to at least partially satisfy a judgment.

        12.      Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible to Plaintiff the records and documents

relating to Defendants’ illegal and infringing activities. Therefore, Plaintiff has good cause to be

granted expedited discovery.




2
 Under Pennsylvania law, pre-judgment restraints are permitted as against all defendants. Walter v. Stacey, 837
A.2d 1205 (Pa. Super. 2003) (injunction entered restraining assets in action seeking damages for a wrongful death);
Hoxworth v. Blinder, Robinson & Co., Inc., 903 F.2d 186 (3d Cir. 1990) (affirming injunction entered restraining
assets in class action lawsuit). Pre-judgment restraints are appropriate against these U.S. sellers under Walter and
Hoxworth. See also, Broadway v. Colorflowers, et al., 22-cv-510-JNR (W.D. Pa., filed April 12, 2022); Doggie
Dental Inc. et al. v. AvantDigital et al., 21-cv-565-MRH (W.D. Pa., filed April 29, 2021) and Doggie Dental Inc. et
al. v. CDOffice et al., 21-cv-271-MRH (W.D. Pa., filed February 25, 2021). Doggie Dental Inc. v. Go Well, No. 19-
cv-1282 (W.D. Pa. Oct. 11, 2019) (Hornak, J.) (sellers on amazon.com); Doggie Dental Inc. v. Worthbuyer, No. 19-
cv-1283 (W.D. Pa. Oct. 11, 2019) (Hornak, J.) (sellers on ebay.com); Doggie Dental Inc. v. Max_Buy, No. 19-cv-
746 (W.D. Pa. June 27, 2019) (Hornak, J.) (sellers on ebay.com); Doggie Dental Inc. v. Anywill, No. 19-cv-682
(W.D. Pa. June 13, 2019) (Hornak, J.) (sellers on amazon.com); Airigan Solutions, LLC v. Abagail, No. 19-cv-503
(May 28, 2019) (Fischer, J.) (sellers on amazon.com); Airigan Solutions, LLC v. Babymove, No. 19-cv-166 (W.D.
Pa. Feb. 14, 2019) (Fischer, J.) (sellers on amazon.com); Airigan Solutions, LLC v. Artifacts_Selling, No. 18-cv-
1462 (W.D. Pa. Oct. 31, 2018) (Fischer, J.) (sellers on ebay.com and aliexpress.com).



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                                                     ORDER

        Based on the foregoing findings of fact and conclusions of law, Plaintiff’s AMENDED

Application is hereby GRANTED AND EXTENDED FOR GOOD CAUSE SHOWN, as

follows (the “Order”):


                                     I. Temporary Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, that each Defendant, its

    officers, directors, employees, agents, subsidiaries, distributors, and all persons in active

    concert or participation with any Defendant having notice of this Order are hereby restrained

    as follows:

    (1) from (a) their unauthorized and unlicensed use of Plaintiff’s Work in connection with the

        distribution, marketing, advertising, offering for sale, or sale of any products; and (b)

        shipping, delivering, holding for sale, transferring or otherwise moving, storing,

        distributing, returning, or otherwise disposing of, in any manner products which use

        Plaintiff’s Work;

    (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

        disposing of and/or dealing with any computer files, data, business records, documents or

        any other records or evidence relating to their User Accounts,3 Merchant Storefronts4 or


3
    As defined in the Application, a “User Account” is, as defined in the Complaint, any and all accounts with
    online marketplace platform(s) Amazon.com, eBay.com, Aliexpress.com, Walmart.com, and wish.com as well
    as any and all as yet undiscovered accounts with additional online marketplace platforms held by or associated
    with Defendants, their respective officers, employees, agents, servants and all other persons in active concert
    with any of them.
4
    As defined in the Application, a “Merchant Storefront” is any and all User Accounts through which Defendants,
    their respective officers, employees, agents, servants and all persons in active concert or participation with any
    of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
    for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
    officers, employees, agents, servants and all persons in active concert or participation with any of them.


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   any money, securities or other property or assets of Defendants (hereinafter collectively

   referred to as “Defendants’ Assets”);

(3) effecting assignments or transfers, forming new entities or associations, or creating

   and/or utilizing any other platform, User Account, Merchant Storefront or any other

   means of importation, exportation, advertising, marketing, promotion, distribution, and/or

   display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

   in this Order;

(4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

   all persons in active concert or participation with any Defendant having notice of this

   Order shall immediately discontinue use of the Plaintiff’s Work within metatags or other

   markers within website source code, from use on any web page (including as the title of

   any product listing), from any advertising links to other websites, from search engines’

   databases or cache memory, and any other form of use such terms or works which is

   visible to a computer user or serves to direct computer searches to Internet based e-

   commerce stores owned, or operated by each Defendant, including the Merchant

   Storefronts operating under the Seller IDs;

(5) each Defendant shall not transfer ownership of the User Accounts or Merchant

   Storefronts associated with the Seller IDs;

(6) each Defendant shall preserve copies of all computer files relating to the use of any User

   Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

   to retrieve computer files relating to the use of the User Accounts and/or Merchant

   Storefronts under their Seller IDs that may been deleted before the entry of this Order;




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    (7) upon receipt of notice of this Order, Defendants and all financial institutions, payment

        processors, banks, escrow services, money transmitters, or marketplace platforms,

        including but not limited to Alibaba.com US LLC d/b/a Aliexpress.com (“Aliexpress”),

        Amazon.com, Inc. and its affiliate, Amazon Services LLC d/b/a Amazon.com

        (“Amazon”), eBay, Inc. d/b/a eBay.com (“eBay”), Walmart.com USA LLC and

        Walmart, Inc. (“Walmart”), and Context Logic, Inc d/b/a wish.com (“Wish”) (“Third

        Party Service Provider(s)’’) and AliPay US Inc. d/b/a Alipay.com (“Alipay”), Amazon

        Payments, Inc. d/b/a pay.amazon.com, and PayPal, Inc. d/b/a paypal.com (“PayPal”),

        Walmart d/b/a Walmart Pay (“Financial Institution(s)”), and their related companies and

        affiliates, shall immediately identify and restrain all funds, as opposed to ongoing account

        activity, in or which are hereafter transmitted into the accounts related to the Defendants

        as identified on Schedule “A” hereto, as well as all funds in or which are transmitted into

        (i) any other accounts of the same customer(s); (ii) any other accounts which transfer

        funds into the same financial institution account(s), and/or any of the other accounts

        subject to this Order; and (iii) any other accounts tied to or used by any of the Seller IDs

        identified on Schedule “A” hereto;5

    (8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

        processors, banks, escrow services, money transmitters, or marketplace platforms,

        including but not limited to the Third Party Service Provider(s) and the Financial

        Institution(s), shall immediately divert to a holding account for the trust of the Court all

        funds in or which are hereafter transmitted into all accounts related to Defendants


5
    This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
    other Third-Party Service Providers and Financial Institutions and that the additionally discovered Third Party
    Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
    the discovery, restraints and injunctions set forth in this Order.


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   identified in Schedule “A” hereto, and associated payment accounts, and any other

   accounts for the same customer(s) as well as any other accounts which transfer funds into

   the same financial institution account(s) as any other accounts subject to this Order;

(9) The Third-Party Service Provider(s) and Financial Institution(s) shall further, within five

   (5) business days of receiving this Order, provider Plaintiff’s counsel with all data that

   details (i) an accounting of the total funds restrained and identifies the financial

   account(s) which the restrained funds are related to, and (ii) the account transactions

   related to all funds transmitted into financial account(s) which have been restrained. Such

   restraining of the funds and the disclosure of the related financial institution account

   information shall be made without notice to the account holders, until after those

   accounts are restrained. No funds restrained by this Order shall be transferred or

   surrendered by any Third-Party Service Provider or Financial Institution for any purpose

   (other than pursuant to a chargeback made pursuant to that Third Party Service Provider

   or Financial Institution’s security interest in the funds) without express authorization of

   this Court;

(10) Upon Plaintiff’s request, any Internet marketplace who is provided with notice of this

   Order, including but not limited to the Third-Party Service Provider(s) and Financial

   Institution(s), shall immediately cease fulfillment of and sequester Defendants’ inventory

   assets corresponding to the Seller IDs identified on Schedule “A” hereto in its inventory,

   possession, custody, or control, and hold such goods in trust for the Court during

   pendency of this action;

(11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

   and any other seller identification names, Accounts or Merchant Storefronts, Third Party


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      Service Provider or Financial Institution accounts which are being used by Defendants

      for the purpose of infringing the Plaintiff’s’ Work;

   (12) Defendants and all financial institutions, payment processors, banks, escrow services,

      money transmitters, or marketplace platforms, including but not limited to the Third-

      Party Service Provider(s) and the Financial Institution(s), subject to this Order may

      petition the Court to modify the asset restraint set out in this Order; and

   (13) this Order shall remain in effect until the date for the hearing to show cause why a

      preliminary injunction should not be issued as set forth below, or until such further dates

      as set by the Court or stipulated by the parties.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiff’s

   request, any Internet marketplace who is provided with notice of this Order, including but not

   limited to the Third-Party Service Providers and Financial Institutions, is hereby restrained

   and enjoined from engaging in any of the following acts or omissions pending the hearing

   and determination of Plaintiff’s Application for a preliminary injunction, or until further

   order of the Court:

   (1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or

      paying Defendants’ Assets from or to financial accounts associated with or

      utilized by any Defendant or any Defendant’s User Accounts or Merchant

      Storefront(s) (whether said account is located in the U.S. or abroad)

      (“Defendants’ Financial Accounts”) until further ordered by this Court; and

   (2) within (5) days after receiving notice of this Order, providing services to Defendants,

      Defendants' User Accounts and Defendants' Merchant Storefronts, including, without




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       limitation, continued operation of Defendants' User Accounts and Merchant Storefronts,

       and any other listings linked to the same sellers or linked to any other alias seller

       identification names being used and/or controlled by Defendants.

C. IT IS HEREBY ORDERED, as the Plaintiff has established that the following product as

   pictured below is the subject of a federally registered Copyright for the Plaintiff’s Pig Face

   Sculpture;




   consequently sufficient cause has been shown, that, upon Plaintiff’s request, within no later

   than five (5) calendar days of Plaintiff’s request: all online marketplaces, including but not

   limited to, Amazon.com, ebay.com, aliexpress.com, Walmart.com, and wish.com, shall upon

   receipt of this Order, suspend, block, tombstone, and/or delete any and any product listings

   identified by the Plaintiff as either identical or substantially similar, to the Pig Face

   Sculpture, whether sold by the Defendant or other persons or entities.

                   II. Order to Show Cause Why a Preliminary Injunction
                           Should Not Issue and Service of Order

    A. Defendants are hereby ORDERED to show cause before this Court in the United States

District Court for the Western District of Pennsylvania, the U.S. Courthouse, by ZoomGov on

the _6th_ day of ___June, 2023___ at ___10:00 a.m.



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appropriate, why a preliminary injunction, pursuant to FRCP 65(a), should not issue.

Defendants are on notice that failure to appear at the hearing may result in the imposition

of a preliminary injunction against them.

      B. Opposing papers, if any, shall be filed electronically with the Court and served on

Plaintiff’s counsel by delivering copies thereof to the office of Ference & Associates LLC at 409

Broad Street, Pittsburgh, Pennsylvania 15143 before June 1, 2023.

       C. After Plaintiff’s counsel has received confirmation from the Third Party Service

Providers and Financial Institutions or otherwise, regarding the restraint of funds directed herein,

Plaintiff shall serve copies of the Complaint, the Application, this Order, and any Discovery on

each Defendant via their corresponding email/online contact form provided on the Internet based

e-commerce stores operating under the respective Seller IDs, or by providing a copy of this order

by e-mail to the marketplace platform, which in turn notifies each Defendant of the Order, or by

other means reasonably calculated to give notice which is permitted by the Court. In addition,

Plaintiff shall post copies of the Complaint, Application, this Order, any Discovery, and all other

pleadings and documents filed in this action on a website designated by Plaintiff,6 and shall

provide the website address to Defendants via e-mail/online contact form, and such notice so

given shall be deemed good and sufficient service thereof. Plaintiff shall continue to provide

notice of these proceedings and copies of the documents on file in this matter to Defendants by

regularly updating the website designated by Plaintiff or by other means reasonably calculated to

give notice which is permitted by the Court.




6
     Rule 65 has been interpreted to require that a party have notice of the motion and hearing; perfecting service on
     a defendant is not a prerequisite to the entry of a preliminary injunction order. Pate v. Gov’t of the Virgin
     Islands, 2015 WL 1937701 n.9 (VI Sup. Ct. April 17, 2015); Corrigan Dispatch Co. v. Casa Guzman, S.A., 569
     F.2d 300, 302 (5th Cir. 1978).


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                         III. Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:

   (1) Plaintiff may propound interrogatories pursuant to Rules 26 and 33 of the Federal Rules

      of Civil Procedure, and Defendants, their respective officers, employees, agents, servants

      and attorneys, and all persons in active concert or participation with any of them, who

      receive actual notice of this Order, shall provide written responses under oath to such

      interrogatories within fourteen (14) days of service to Plaintiff’s counsel.

   (2) Plaintiff may serve requests for the production of documents pursuant to FRCP 26 and

      34, and Defendants, their respective officers, employees, agents, servants and attorneys,

      and all persons in active concert or participation with any of them, who receive actual

      notice of this Order, shall produce all documents responsive to such requests within

      fourteen (14) days of service to Plaintiff’s counsel.

   (3) Plaintiff may serve requests for admissions pursuant to FRCP 26 and 36, and Defendants,

      their respective officers, employees, agents, servants and attorneys, and all persons in

      active concert or participation with any of them, who receive actual notice of this Order,

      shall provide written responses under oath to such requests within fourteen (14) days of

      service to Plaintiff’s counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen (14)

   days of receiving actual notice of this Order, Defendants and all financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to the Third Party Service Provider(s) and the Financial

   Institution(s), shall provide to Plaintiff’s counsel all documents and records in their




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   possession, custody or control (whether located in the U.S. or abroad) relating to Defendants’

   User Accounts and Defendants’ Merchant Storefronts, including, but not limited to,

   documents and records relating to:

   (1) any and all User Accounts and Defendants’ Merchant Storefronts and account details,

       including, without limitation, identifying information and account numbers for any and

       all User Accounts and Defendants’ Merchant Storefronts that Defendants have ever had

       and/or currently maintain with the respective Third-Party Service Provider;

   (2) the identities, location and contact information, including any and all e-mail addresses of

       Defendants that were not previously provided;

   (3) the Defendants’ methods of payment, methods for accepting payment and any and all

       financial information, including, but not limited to, information associated with

       Defendants’ User Accounts and Defendants’ Merchant Storefronts, a full accounting of

       Defendants’ sales history and listing history under such accounts and Defendants’

       Financial Accounts associated with Defendants’ User Accounts and Defendants’

       Merchant Storefronts; and

   (4) Defendants’ unauthorized and unlicensed use of Plaintiff’s Work in connection with the

       distribution, marketing, advertising, offering for sale, or sale of any products, and any

       products which use Plaintiff’s Work.

                                        V. Security Bond

       IT IS FURTHER ORDERED that Plaintiff shall place security (corporate surety

bond, cash, certified check, or attorney’s check) in the amount of $5,000.00 dollars with the

Clerk of the Court, which amount is determined adequate for the payment of any damages

any person may be entitled to recover as a result of an improper or wrongful restraint ordered

hereunder.
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        VI. Summons

       IT IS FURTHER ORDERED that the Clerk of the Court shall issue a single original

summons in the name of “MAPLE LEAVES and all other Defendants identified in the

Complaint” that will apply to all Defendants.




                                                         SO ORDERED,
                                                         this 2nd day of May, 2023.

                                                         s/ Arthur J. Schwab
                                                         Arthur J. Schwab
                                                         United States District Judge




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                           Schedule “A”
              Defendants with Store Name and Seller ID
Defendant           Defendant Store/Name                    Seller ID
No.
  1         Maple leaves                            101189006
  2         GZSMUXINCo.ltd                          101294562
  3         Amisha24                                A5ROIGUNT3TM5
  4         gengguoqing                             AKRD14LIX97YO
  5         Hagrid's Toolbox                        A1V386H9WOR1CB
  6         Hcdsdf                                  A3J99Q9NTLUNO6
  7         hefeiraowenzoushangmaoyouxiangongsi     A2M14SF02PV6VO
  8         HUAZHIMU JP                             A12N5VF52720CY
  9         huocuowenhuachuanmeiyouxiangongsi       AJWVGIMPL7LGA
  10        JiaChong                                A2RLCODOXA3WJC
  11        jiangyuzhuo                             A37SXHZM7B2Z3Y
  12        Kamehame                                A2DJ2YGIO50FAT
  13        keji-shop                               AYS5T9G3GKUDI
  14        LiuAnJinZuoXinXiKeJiYouXianGongSi       A9FYGA0MEYH41
  15        LOhgd                                   A128JD1HCS7T00
  16        LuJieKe                                 A371LNTNVQW7WQ
  17        malishop                                A1VGI2QEDZFB9B
  18        mianxianyihejinbaihuodian               ATIKEOW1UO9IC
  19        nDFYk                                   A2P6647ZG5HGL4
  20        New Religion                            AYJ55WZO43GQM
  21        poijmn                                  A2F3KT7ODW7NBE
  22        QMFDK                                   A1CAO9BNYYN5B5
  23        SENJUE1205US                            A2BE7GKGO5WS5Q
  24        Shegoal                                 A1RQBBB2CYPGX3
  25        SHOPANTS                                A70JLRWVO2Q97
  26        TAOYANGJIN                              A3PA4BK4HZ4EMI
  27        wenjuandedian                           A3O5LHP10PYXPR
  28        WuDiWoAiWoJia                           A1BOCOMN1OCJ4Z
  29        XiangYueShangMao                        A3T88YIE6O1GBR
  30        YEGHSS                                  A2N0AKE47HFXQC
  31        YuXianZhanWangShangMaoZhongXin          A18OGFT0PPM1B8
  32        zhuleStore                              A307IK46Y0UQIP
  33        ZiBoYueYingDianZiShangWuFuWuBu          A1F99CIVU6X43S
  34        Zinkin Store                            A27JFJDHIXBWN2


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Defendant             Defendant Store/Name                  Seller ID
No.
  35        basyo99                                 285192500815,
                                                    285192500810
  36        brijeskishop                            193841367261
  37        chck-stores                             394526294811
  38        chja-7217                               304768071748
  39        clwij0                                  394450407024
  40        dvr_14_8                                404222392754
  41        jokotingkir-ngombedawet                 295413065815
  42        mellberl0                                354659404988
                                                     354659404970
  43        nitesda                                 374576916424
  44        oferizhaki                              144880277096
  45        patelyaseen                             144975721095
  46        priyantha_web_store                     354480070884
  47        rajasat-0                               385479098923
  48        riwar_6162                              404206729043
  49        val548320                               394463815007
  50        yechiel_store5                          204287530381




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